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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
UNITED STATES OF AMERICA, ex rel. )
ROBIN WHITE,                         )
                                     )   Civil Action No. 13-1109-RGA
            Plaintiff,               )
      v.                             )
                                     )
ORTHOPAEDIC AND NEURO                )
IMAGING LLC, and RICHARD             )
PFARR.                               )
                                     )
            Defendants.              )
____________________________________)


                 BRIEF OF UNITED STATES IN SUPPORT OF
          UNITED STATES’ AND ROBIN WHITE’S JOINT MOTION FOR
            DEFAULT JUDGMENT AND TO SET RELATOR’S SHARE




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Dated: January 12, 2018
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       I.      NATURE AND STAGE OF THE PROCEEDINGS

       Relator Robin White (“Relator”) commenced this action on June 21, 2013, by filing a qui

tam Complaint pursuant to the False Claims Act (“FCA”), 31 U.S.C. §§ 3729-3733. (D.I. 2.)

The United States intervened and filed a Complaint in Intervention on September 26, 2017. (D.I.

28, 29.) The same day, the Court directed the government to serve its Complaint on Defendants

Orthopaedic and Neuro Imaging (“ONI”) and Richard Pfarr (“Pfarr”). (D.I. 30.)

       Defendants, through counsel, each signed a Waiver of the Service of Summons, pursuant

to Federal Rule of Civil Procedure 4(d), and the government filed the completed waiver forms on

October 17, 2017. (D.I. 34, 35.) Defendants’ response was due on November 27, 2017. Neither

Defendant responded. Accordingly, on December 27, 2017, the government requested the Clerk

of Court to enter default. (D.I. 36.) The Clerk entered default against Defendants on January 5,

2018. (D.I. 37.) To date, Defendants have failed to answer or otherwise respond.1

       II.     SUMMARY OF THE ARGUMENT

       Defendants violated the FCA when they submitted claims to Medicare for MRI services,

knowing that the claims were not entitled to be paid. The amount of damages is set by statute

and is thus capable of ascertainment by the Court. The Court should grant default judgment.

       III.    STATEMENT OF FACTS

       Once a default is entered, the defaulting parties have no right to dispute liability; and on a

motion for default judgment, the well-pled facts in the Complaint relating to liability are taken as

true. Comdyne I, Inc. v. Corbin, 908 F.2d 1142, 1149 (3d Cir. 1990).

               A.      Medicare Background

       Medicare is a federal health insurance program for people 65 and older and for people


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 On December 13, 2017, an attorney representing Defendants advised the government that
Defendants had decided not to undertake any further defense of this action.
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under 65 with certain disabilities. Medicare is administered through the Centers for Medicare

and Medicaid Services (“CMS”), and administration is further delegated to government

contractors. (D.I. 29 (“Gov’t Compl.”) at ¶ 7.)

         In order to bill Medicare for services provided to Medicare beneficiaries, health care

providers must submit an enrollment application. Medicare, through its administrative

contractor, evaluates the representations and certifications in the enrollment application and

determines whether to permit the provider to enroll. Once a provider is approved, it can bill

Medicare and receive payment. (Id. at ¶ 8.)

         To obtain payment for the services they provide to Medicare beneficiaries, Medicare-

enrolled providers file “claims” with the Medicare administrative contractor. The basic

requirement for a claim to be payable by Medicare is that the service must be “reasonable and

necessary for the diagnosis or treatment of illness or injury.” 42 U.S.C. § 1395y(a)(1)(A). (Id. at

¶ 10.)

         When submitting claims to Medicare, providers use payment codes corresponding to the

services they provided. These codes are commonly referred to as “Current Procedural

Terminology” or “CPT” codes. By submitting claims using CPT codes, providers represent to

Medicare that they have provided the services corresponding to the codes. (Id. at ¶ 11.)

         Medicare authorizes providers called “independent diagnostic testing facilities,” or

“IDTFs” to perform and bill for magnetic resonance imaging (“MRI”) tests on Medicare

beneficiaries. (Id. at ¶ 15.) But it deems those tests to be “reasonable and necessary,” and thus

reimbursable by Medicare, only if a physician supervises the procedure according to the

standards established by Medicare. By definition, a test performed without the appropriate level

of physician supervision is not “reasonable and necessary,” and therefore not payable by



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Medicare. 42 C.F.R. § 410.32(b) (Id. at ¶ 12.)

       For diagnostic tests that involve some inherent risk of harm to the patient—including

MRI scans involving injection of contrast media to which the patient may have an adverse or

allergic reaction—Medicare requires IDTFs to provide “direct supervision” of the procedure.

Direct supervision means that a physician has to be “in the office suite and immediately available

to furnish assistance and direction” in the event of an adverse reaction. 42 C.F.R.

§ 410.32(b)(3)(ii). CMS publishes a Medicare Physician Fee Schedule Database that contains a

listing of all diagnostic procedures that require direct supervision by a physician. (Id. at ¶ 14.)

An IDTF’s compliance with the direct supervision requirement is material to Medicare’s

decision to pay for contrast MRI procedures. (Id. at ¶ 18.)

       To enroll in the Medicare program and thus be entitled to bill Medicare, an IDTF has

always been required to list “all supervising physician(s)” that it intends to use and provide

information to Medicare about the physician supervisors’ qualifications. See, e.g., Medicare

Enrollment Application, Clinics/Group Practices and Certain Other Suppliers,

http://www.cms.hhs.gov/CMSforms/downloads/cms855b.pdf, at 35, 46-47 (last visited Aug. 7,

2017); see also 42 C.F.R. § 410.33(b)(2) (IDTFs must “evidence proficiency” of supervising

physicians). Furthermore, each supervising physician must “certify” to the Medicare

administrative contractor the identity of each of the test types that s/he is going to supervise for

the IDTF. If any changes are made to the supervisory physician staff, the IDTF certifies that it

will notify the Medicare administrative contractor of this change within 30 or 90 days, depending

on the type of change. (Id. at ¶ 19.)

       IDTFs must also agree in the Medicare enrollment application to comply with all

Medicare program instructions. IDTFs must acknowledge that all such instructions are available



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from the Medicare contractor and that payment is contingent upon compliance with all

applicable laws, regulations and program instructions. (Id. at ¶ 20.)

                 B.     ONI Lewes

        Defendant Orthopaedic and Neuro Imaging LLC (“ONI”) is a private Delaware limited

liability company formed in 2002. ONI operates four IDTF locations in Delaware and Maryland,

which perform MRI services. (Id. at ¶¶ 5, 23, 37, 48, 57.) ONI is owned by Defendant Pfarr and

his wife, and Pfarr is the President. (Id. at ¶ 6.)

        ONI opened its first location in Lewes, Delaware in 2002. Between October 2002 and

continuing through July 2014, employees at ONI’s Lewes office injected hundreds of Medicare

beneficiaries with contrast material during the performance of contrast MRI procedures.

However, except for a short period of time in 2012, ONI provided no direct physician

supervision of contrast MRI procedures performed in its Lewes office. ONI and Pfarr

nevertheless submitted claims for those procedures and received payment from Medicare. (Id. at

¶¶ 23-36.)

        The allegations in the government’s Complaint establish that Defendants knew about the

supervision requirement when Pfarr enrolled ONI in Medicare in 2002, and they knew that ONI

was not in compliance. Pfarr signed ONI’s Medicare enrollment application and required

certifications as President and “Authorized Official” of ONI. Those certifications, which were

set forth in all of the enrollment forms submitted by ONI and Pfarr, included the following:

                “My signature legally and financially binds this supplier to the laws, regulations,
                 and program instructions of the Medicare program.”
                “I agree to abide by the Medicare laws, regulations and program instructions that
                 apply to this supplier. The Medicare laws, regulations and program instructions
                 are available through the Medicare contractor.”
                “I understand that payment of a claim by Medicare is conditioned upon the claim
                 and the underlying transaction complying with such laws, regulations and
                 program instructions . . . .”

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              “I agree to notify the Medicare contractor of any future changes to the
               information” contained in the application within 90 days (or 30 days for certain
               types of changes).
              “I will not knowingly present or cause to be presented a false or fraudulent claim
               for payment by Medicare . . . .”
              “[I] will not submit claims with deliberate ignorance or reckless disregard of their
               truth or falsity.”

The certifications put Pfarr and ONI on notice that they needed to comply with regulations or

Medicare would not pay the claims. (Id. ¶¶ 25, 26.)

       Despite knowing that unsupervised contrast MRI scans were not entitled to be paid, ONI

and Pfarr began billing for them soon after ONI Lewes opened its doors in 2002. (Id. at ¶ 26.)

In or around 2007, Relator White—who at the time worked at ONI in Lewes—asked Pfarr if

ONI was in compliance with the direct supervision requirement. Pfarr lied and told White that

Dr. Charles Stanislav, a general practice physician who had an office near ONI, was ONI’s

supervising physician. But in an interview with government investigators, Dr. Stanislav denied

supervising any procedures for ONI or even being present in ONI’s office suite during

procedures. He further denied knowing that he was ONI’s supervising physician. (Id. at ¶¶ 27,

34.)

       Documents obtained during the government’s investigation evidence ONI’s and Pfarr’s

knowledge of ONI’s non-compliance in Lewes, as well as their knowledge that the government

considered the supervision requirement to be material. In an e-mail dated January 5, 2012, Pfarr

acknowledged ONI’s non-compliance, stating, “ONI was just informed that we have to

revalidate all three facility’s [sic], which means we re-submit all documents . . . A problem we

need to address is designating radiologists as Direct Supervision – meaning they must be present

in the office suite & immediately available to provide assistance throughout the performance of

the procedure . . . .” (Id. at ¶ 28.) One week later, on January 12, 2012, ONI’s third-party billing


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service notified Pfarr that “[t]he government will clearly be reviewing supervision in regards to

IDTFs” and that “we should talk about this in the near future.” Pfarr responded that he “may

have to punt on removing [Relator] Robin [White] from ONI until we can figure out how best to

comply!” (Id. at ¶ 29.)

       Shortly thereafter, on or about February 3, 2012, ONI submitted an application to re-

enroll its Lewes office location in Medicare. The application listed Dr. Robert Platenberg as the

direct supervision physician. Pfarr signed the enrollment application and required certifications.

Subsequently, between approximately February 2012 and June 2012, Pfarr arranged to have Dr.

Platenberg (who lived out of state) present in ONI’s Lewes office on Thursdays to supervise

contrast MRI procedures. (Id. at ¶ 30.) See also Exhibit A (Declaration of Special Agent Paul

Rich) at ¶ 4.

       Dr. Platenberg stopped directly supervising at the Lewes office before July 2012, and

Pfarr knew it. But ONI and Pfarr did not hire a replacement or notify Medicare that Dr.

Platenberg was no longer supervising. Starting in July 2012, ONI continued to perform and bill

for contrast MRI procedures on Medicare beneficiaries at its Lewes office, but ONI provided no

direct physician supervision. (Gov’t Compl. at ¶ 31.) See also Exhibit A at ¶ 4.

       On or about November 5, 2013, ONI submitted a form to Medicare indicating that ONI

had changed its direct supervising physician at the Lewes office from Dr. Platenberg to Dr.

Charles Stanislav, effective November 1, 2013. Pfarr signed the form and the required

certifications. At or around the same time, ONI created a written agreement under which Dr.

Stanislav would purportedly provide “on-site” supervision of contrast MRI procedures at ONI’s

Lewes office. Under the agreement, ONI was to provide Dr. Stanislav’s Administrator with a

schedule of contrast patients each week and would pay Dr. Stanislav a fee of $20.00 “per patient



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exam” or $150.00 “[i]n the event that the supervising physician is needed to evaluate a patient.”

Pfarr signed the agreement on behalf of ONI. (Id. at ¶¶ 32, 33.)

          The government’s investigation uncovered that ONI’s written agreement with Dr.

Stanislav in 2013 was a sham created to conceal the fact that ONI did not provide direct

supervision at its Lewes location. Dr. Stanislav told investigators that he was never present in

ONI’s office suite during contrast MRI procedures. ONI never provided Dr. Stanislav or his

employees with a schedule of contrast patients as required by the agreement. ONI never paid Dr.

Stanislav pursuant to the agreement. Dr. Stanislav also told investigators that he was unaware

that the supervision agreement with ONI had even commenced, since Pfarr never notified him

that ONI was giving contrast injections. (Id. at ¶ 34.)

          Between July 1, 2003 (ten years prior to Relator’s June 21, 2013 Complaint2) and June

30, 2014 (just before the government’s investigation went overt), excluding the first two quarters

of 2012 (spanning the time period when Dr. Platenberg supervised in Lewes), ONI filed 1,585

claims with Medicare for contrast MRI procedures performed in its Lewes office, totaling

$995,305.79. See Exhibit A at ¶ 7, Attachment 1. (See also Gov’t Compl. at ¶ 35.)

                 C.      ONI Seaford

          In or around January 2005, ONI opened another office location in Seaford, Delaware.

Beginning in January 2005 and continuing through July 2014, employees at ONI’s Seaford office

injected hundreds of Medicare beneficiaries with contrast material during the performance of

contrast MRI procedures. However, except for a short period of time in 2012, ONI provided no

direct physician supervision of contrast MRI procedures performed in its Seaford Office. (Id. at

¶ 37.)



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    As set forth below, the limitations period for the FCA claim against ONI is ten years.
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       As described above, ONI and Pfarr knew that unsupervised contrast MRI scans were not

entitled to be paid. They nevertheless began billing Medicare for unsupervised scans soon after

ONI Seaford opened its doors in 2005. (Id.)

       Like they had done in Lewes, ONI and Pfarr falsified Medicare enrollment forms in order

to conceal ONI’s non-compliance. In or around March 2009, ONI submitted an application to

Medicare to reactivate the enrollment for the Seaford office. Although ONI’s application stated

that it would perform contrast MRI studies, it failed to list a physician for provision of direct

supervision. The Medicare administrative contractor informed ONI that, in order to complete

processing of the enrollment application, ONI needed to identify a supervising physician “with

the appropriate Supervision” for each type of test it proposed to perform. On or about April 28,

2009, ONI submitted amended enrollment paperwork indicating that Dr. Robert Platenberg

provided direct supervision at ONI’s Seaford office. Pfarr signed the enrollment application and

required certifications for ONI’s Seaford office. (Id. at ¶ 39.)

       ONI’s enrollment application listing Platenberg as the direct supervising physician was

materially false. In fact, ONI had never provided supervision of contrast MRI procedures in its

Seaford office and Pfarr had no intent at that time to use Dr. Platenberg (who lived out of state)

to provide direct supervision.   (Id.)

       On or about the same day, Pfarr sent the Medicare administrative contractor a schedule of

dates “assigned” in May 2009 for Dr. Platenberg to directly supervise contrast scans in ONI’s

Seaford office. Pfarr’s letter was fraudulent. Dr. Platenberg told government investigators that

he did not provide direct supervision at ONI’s Seaford office in 2009, nor was he “assigned” to

do so by ONI or Pfarr. (Id. at ¶ 40.)

       In or around February 2012, shortly after being notified that the government was



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investigating IDTF compliance with supervision requirements, ONI submitted an application to

re-enroll its Seaford office in Medicare. The application stated that Platenberg would provide

direct supervision. Between approximately February 2012 and July 2012, Pfarr arranged to have

Dr. Platenberg present in ONI’s Seaford office on Fridays to supervise contrast MRI procedures

for Medicare beneficiaries. During this period, ONI scheduled Medicare beneficiaries

undergoing contrast MRI procedures at its Seaford office for Fridays. (Id. at 41.)

       Dr. Platenberg stopped directly supervising in Seaford before July 2012, and Pfarr knew

it. ONI and Pfarr did not hire a replacement or notify Medicare that Dr. Platenberg was no

longer supervising. After July 2012, ONI continued to perform and bill for contrast MRI

procedures on Medicare beneficiaries in Seaford, but ONI provided no direct supervision. (Id. at

¶ 42.) See also Exhibit A at ¶ 4.

       On or about November 5, 2013, ONI submitted a form indicating that ONI had changed

its direct supervising physician from Dr. Platenberg to Dr. Ivonne Herrera, effective November

1, 2013. That representation was materially false. In fact, ONI had not provided direct

supervision of contrast MRI procedures in its Seaford office since approximately July 2012 and

Pfarr had no intent to use Dr. Herrera to provide direct supervision of contrast MRI procedures.

Pfarr signed the form and the required certifications. (Gov’t Compl. at ¶ 43.)

       At or around the same time, ONI created a written agreement with Dr. Herrera in Seaford

similar to the one with Dr. Stanislav in Lewes. According to the agreement, Dr. Herrera would

provide “on-site” supervision of contrast MRI procedures at ONI’s Seaford office. ONI would

provide Dr. Herrera a fee of $20.00 “per patient exam” or $150.00 “[i]n the event that the

supervising physician is needed to evaluate a patient.” Pfarr signed the agreement on behalf of

ONI. (Id. at ¶ 44.)



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       Like its agreement with Dr. Stanislav, ONI’s written agreement with Dr. Herrera was a

sham created to conceal the fact that ONI did not provide direct physician supervision of contrast

MRI procedures performed at its Seaford office. Dr. Herrera told government investigators that

she was never present in ONI’s office suite during contrast MRI procedures. Moreover, ONI

never paid Dr. Herrera pursuant to the agreement. (Id. at ¶ 45.)

       Between January 1, 2005 (when the Seaford office opened) and June 30, 2014 (just

before the government’s investigation went overt), excluding the first two quarters of 2012

(spanning the time period when Dr. Platenberg supervised in Seaford), ONI filed 342 claims with

Medicare for contrast MRI procedures performed in its Seaford office, totaling $197,248.64. See

Exhibit A at ¶ 8, Attachment 1. (See also Gov’t Compl. at ¶ 46.)

               D.      ONI Millsboro

       In 2008, Defendant ONI opened another office in Millsboro, Delaware. Beginning in

October 2008 and continuing through July 2014, employees at ONI’s Millsboro office injected

hundreds of Medicare beneficiaries with contrast material during the performance of contrast

MRI procedures. However, ONI generally provided no direct physician supervision of contrast

MRI procedures performed in its Millsboro Office. ONI and Pfarr nevertheless submitted or

caused to be submitted claims for those procedures to Medicare. (Gov’t Compl. at ¶ 48.)

       Like they had done in Lewes and Seaford, ONI and Pfarr falsified Medicare enrollment

forms in order to conceal ONI’s non-compliance. In or around November 2008, ONI submitted

an application to Medicare to enroll its Millsboro office. The application did not list a physician

for provision of direct supervision. On December 1, 2008, the Medicare administrative

contractor informed ONI that, in order to process its enrollment application, ONI needed to

identify a supervising physician “with the appropriate Supervision” for each type of test it

proposed to perform. On or about December 15, 2008, ONI submitted amended enrollment
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paperwork indicating that Joseph Inzinna would provide direct supervision. Pfarr signed the

enrollment application and required certifications for ONI’s Millsboro office. (Id. at ¶ 49.)

         That enrollment form was materially false. Dr. Inzinna told government investigators

that he did not provide direct supervision at ONI’s Millsboro office, nor has he ever even visited

that office. ONI continued to perform and bill for contrast MRI scans from October 2008 until

February 2012. (Id. at ¶¶ 49, 50.)

         In or around February 2012, shortly after being notified that the government was

investigating IDTF compliance with supervision requirements, ONI generally stopped

performing contrast MRI procedures to Medicare beneficiaries at its Millsboro office. (Id. at

¶ 51.)

         In or around November 2013, ONI created a sham supervision agreement with Dr. Fadi

Damouni for the Millsboro location. Once again, Pfarr signed the agreement on behalf of ONI.

Like the others, this agreement was a sham created to conceal the fact that ONI did not provide

direct physician supervision of contrast MRI procedures performed at its Millsboro office. Dr.

Damouni told investigators that he was never present in ONI’s office suite during contrast MRI

procedures. ONI never provided Dr. Damouni or his employees with a schedule of contrast

patients as required by the agreement. ONI never paid Dr. Damouni pursuant to the agreement.

Moreover, Dr. Damouni was unaware that the supervision agreement with ONI had commenced

until one of his own patients underwent a contrast MRI procedure in or around July 2014. (Id. at

¶¶ 53, 54.)

         Between the fourth quarter of 2008 (when the Millsboro office opened) and June 30,

2014 (just before the government’s investigation went overt), ONI filed 226 claims with

Medicare for contrast MRI procedures performed in its Millsboro office, totaling $111,995.12.



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See Exhibit A at ¶ 9, Attachment 1. (See also Gov’t Compl. at ¶ 55.)

               E.     ONI Salisbury

       In 2012, Defendant ONI opened an office in Salisbury, Maryland. Beginning in June

2012 and continuing through July 2014, employees at ONI’s Salisbury office injected Medicare

beneficiaries with contrast material during the performance of contrast MRI procedures.

However, ONI generally provided no direct physician supervision of contrast MRI procedures

performed in its Salisbury Office. ONI and Richard Pfarr nevertheless submitted or caused to be

submitted claims for those tests to Medicare. (Gov’t Compl. at ¶ 57.)

       ONI and Pfarr also falsified the Medicare enrollment form for the Salisbury office. The

form listed Dr. Donald Wood as the physician providing direct supervising physician. Pfarr

signed the enrollment application and required certifications. However, ONI and Pfarr had no

intent to use Dr. Wood to provide direct supervision of contrast MRI procedures. ONI and Pfarr

also created a sham supervision agreement for its Salisbury location. (Id. at ¶¶ 58-60.)

       Between June 2012 (when the Salisbury office opened) and June 30, 2014 (just before the

government’s investigation went overt), ONI filed 72 claims with Medicare for contrast MRI

procedures performed in its Salisbury office, totaling $23,980.91. See Exhibit A at ¶ 10,

Attachment 1. (See also Gov’t Compl. at ¶ 61.)

       IV.     ARGUMENT

       Once default has been entered by the Clerk of Court under Rule 55(a), the plaintiff may

apply to the court for default judgment under Rule 55(b). J & J Sports Prod., Inc. v. Kim, No. 14-

1170, 2016 WL 1238223, at *1 (D. Del. Mar. 29, 2016); Fed. R. Civ. Proc. 55. At this stage, the

factual allegations set forth in the complaint must be taken as true, except those related to the

amount of damages. Comdyne, 908 F.2d at 1149.



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       As to damages, the Court must make a determination of the sum to be awarded, which may

be based on affidavits or documentary evidence. See Fed. R. Civ. Proc. 55(b); United States v. Di

Mucci, 879 F.2d 1488, 1497 (7th Cir. 1989) (explaining that a default judgment may be entered

without an evidentiary hearing on damages so long as the amount of damages is “capable of

ascertainment from definite figures contained in the documentary evidence or in detailed

affidavits”); Eastern Elec. Corp. of New Jersey v. Shoemaker Const. Co., 652 F. Supp. 2d 599

(E.D. Pa. 2009) (“The Court is under no requirement to conduct an evidentiary hearing with

testimony, but, rather, such a hearing may be one in which the court asks the parties to submit

affidavits and other materials from which the court can decide the issue.” (internal marks and

citation omitted)).

       The well-pled allegations of the Complaint establish that Defendants are liable under the

FCA.    Defendants’ damages are calculated according to statute, and are thus capable of

ascertainment from the affidavit submitted with the government’s motion. See United States v.

TXL Mortg. Corp., Civ. A. No. 15-1658 (JEB), 2016 WL 5108019, at *1-3 (D.D.C. Sept. 20, 2016)

(entering default judgment in favor of the United States on FCA claim based on government’s

submission of affidavit supporting its damages claim). Accordingly, entry of default judgment

under Rule 55(b) is appropriate.

               A.      The allegations in the government’s Complaint establish liability
                       under the FCA.

       The government requests default judgment on Count One, which alleges a violation of 31

U.S.C. § 3729(a)(1)(A) (formerly § 3729(a)(1)). That section imposes civil liability on “any

person who . . . knowingly presents, or causes to be presented, a false or fraudulent claim for

payment or approval.” § 3729(a)(1)(A).




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        A violation of § 3729(a)(1)(A) has four elements: (1) the defendant presented or caused

to be presented a claim for payment; (2) the claim was false or fraudulent; (3) the defendant

knew the claim was false or fraudulent,” United States ex rel. Wilkins v. United Health Group,

Inc., 659 F.3d 295, 304-05 (3d Cir. 2011); and (4) the misrepresentation was “material to the

government’s payment decision,” Universal Health Servs., Inc. v. United States ex rel. Escobar,

136 S. Ct. 1989, 1996 (2016). See also United States ex rel. Spay v. CVS Caremark Corp., 875

F.3d 746, 761-63 (3d Cir. 2017) (holding that the elements of § 3729(a)(1)(A) and former

§ 3729(a)(1) (pre-2009) are the same).

        The well-pled allegations in the Government’s Complaint satisfy each of those elements.

                        1. Defendants presented or caused to be presented claims for
                           payment.

        Medicare claims are “claims” under the FCA.3 See, e.g., Wilkins, 659 F.3d 295, 307,

313-14 (allegation that defendant submitted false Medicare claims stated an FCA claim, citing

cases). Defendant ONI’s submission of claims for payment to Medicare for contrast MRI

services satisfies this first element. (Gov’t Compl. at ¶¶ 35-36, 46-47, 55-56, 61.)

        Defendant Pfarr also satisfies this element because he “cause[d]” ONI to submit claims to

Medicare. (Id.) 31 U.S.C. § 3729(a)(1)(A); see also United States ex rel. Marcus v. Hess, 317

U.S. 537, 544-45 (1943) (“[The FCA] provisions, considered together, indicate a purpose to

reach any person who knowingly assisted in causing the government to pay claims which were



3
 Under the FCA, the term “claim” includes “any request or demand, whether under a contract or
otherwise, for money or property and whether or not the United States has title to the money or
property, that— (i) is presented to an officer, employee, or agent of the United States; or (ii) is made
to a contractor . . . if the money or property is to be spent or used on the Government’s behalf or to
advance a Government program or interest, and if the United States Government . . . (I) provides or
has provided any portion of the money or property requested or demanded; or (II) will reimburse
such contractor, grantee, or other recipient for any portion of the money or property which is
requested or demanded . . . .” 31 U.S.C. § 3729(b)(2).
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grounded in fraud, without regard to whether that person had direct contractual relations with the

government.”); United States ex rel. Schmidt v. Zimmer, Inc., 386 F.3d 235, 242-44 (3d Cir.

2004) (holding that an individual defendant may be liable under the FCA even though an entity

submitted the false claim).

                       2. The claims were false.

       A claim can be “false” within the meaning of the FCA under multiple legal theories. See,

e.g., Wilkins, 659 F.3d at 305-07 (describing theories). Under the “implied false certification”

theory, a defendant is liable for presenting (or causing the presenting of) a claim to the

government without disclosing that it violated regulations that affected its eligibility for

payment. Escobar, 136 S. Ct. at 2000-01 (adopting the implied false certification theory of FCA

liability); see also Wilkins, 659 F.3d at 305-06. According to this theory, the submission of

claims for payment using CPT codes that correspond to specific medical services amounts to a

representation that those services were provided in compliance with statutory, regulatory, and

contractual requirements. Escobar, 136 S. Ct. at 2000-01. If those requirements were not

complied with, the claims are “false” within the meaning of the FCA. Id.

       Here, ONI and Pfarr submitted (and caused the submission of) Medicare claims for

specific contrast MRI services using CPT codes, despite the fact that those services did not

comply with statutory and regulatory requirements for direct physician supervision. (Gov’t

Compl. at ¶¶ 11, 14, 17, 35-36, 46-47, 55-56, 61.) Under the implied false certification theory,

those claims were false.4


4
  Many of the claims are also false under a fraud-in-the-inducement theory. Under that theory,
the FCA is violated if claims for payment are submitted to the government under a contract
initially caused by fraud, even if the claims themselves are not fraudulent. United States ex rel.
Thomas v. Siemens AG, 593 Fed. App’x 139, 143 (3d Cir. 2014); In re Baycol Prods. Litig., 732
F.3d 869, 876 (8th Cir. 2013); United States ex rel. Longhi v. Lithium Power Techs., Inc., 575
F.3d 458, 467–68 (5th Cir. 2009); Smith v. Carolina Med. Ctr., No. 11-2756, 2017 WL 3310694,
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                       3. Defendants knew the claims were false.

         “Knowledge” under the FCA is defined by statute, and means either (i) “actual

knowledge,” (ii) “deliberate ignorance,” or (iii) “reckless disregard.” 31 U.S.C. § 3729(b)(1).

Specific intent to defraud is not required. Id.

         The Complaint alleges that Defendant Pfarr had actual knowledge of the direct

supervision requirement and actual knowledge that ONI was violating it. (Gov’t Compl. at

¶¶ 26, 35, 46, 55, 61) Indeed, not only has the United States pled Pfarr’s scienter generally (as it

is permitted to do under the Rules, Fed. R. Civ. Proc. 9(b)) but it has pled facts—gleaned from

Medicare enrollment forms, witness interviews, and ONI documents—that establish Pfarr’s

knowledge. (Id. at ¶¶ 24-36, 39-45, 49-55, 58-61.) This was not a mistake or a

misunderstanding: Pfarr knew the rules, he knew that ONI was violating them, he lied to

Medicare to try to get around them, and he created sham physician supervision agreements as a

cover.

         The scienter element is also satisfied for Defendant ONI because Pfarr’s knowledge is

imputed to ONI. See, e.g., Grand Union Co. v. United States, 696 F.2d 888, 891 (11th Cir.

1983) (holding in an FCA case that employee’s knowledge is imputed to a corporation when the

employee acts for the benefit of the corporation and within the scope of his employment);

Higgins v. Shenango Pottery Co., 256 F.2d 504, 509 (3d Cir. 1958) (“[I]t is a rule of agency that

the knowledge of the agent is imputed to the principal in connection with any transaction



*5-7 (E.D. Pa. Aug. 2, 2017) (holding that false statements in Medicare enrollment forms can
create FCA liability under a fraudulent inducement theory). Here, Medicare told ONI and Pfarr
that ONI could not enroll MRI locations without listing a direct supervising physician on its
enrollment form; otherwise, ONI could not file claims for contrast MRI procedures. (Gov’t
Compl. at ¶¶ 39-40, 49.) Faced with this obstacle, Pfarr lied on the enrollment forms about
having direct supervising physicians. (Id.) ONI’s subsequent claims for contrast MRI
procedures were therefore false.
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conducted by the agent in behalf of his principal.”).

                       4. Defendants’ misrepresentations were material.

       When a claim under § 3729(a)(1)(A) is based on non-compliance “with a statutory,

regulatory, or contractual requirement,” the requirement “must be material to the Government’s

payment decision in order to be actionable under the False Claims Act.” Escobar, 136 S. Ct. at

1996. Materiality is satisfied (i) if a reasonable person would attach importance to the false

representation in determining his or her choice of action in the transaction; or (ii) if the defendant

knew or had reason to know that the recipient of the representation would attach importance to

the specific matter in determining his or her choice of action. Id. at 2002-03. The government’s

decision to expressly identify a statutory or regulatory requirement as a condition of payment is

evidence of materiality. Id. at 2003. As is evidence that the defendant knows that the

government will refuse to pay based on non-compliance with the requirement. Id.

       Here, the government’s Complaint—which must be taken as true—alleges that the direct

supervision requirement was material to Medicare’s decision to pay for contrast MRI services.

(Gov’t Compl. at ¶ 18.) The Complaint also alleges specific facts that establish materiality. As

explained above, Medicare statutes and regulations make clear that the direct supervision

requirement is a condition of payment. (Id. at ¶¶ 12, 14.) The facts also show that Pfarr knew

that Medicare attached specific importance to compliance with this requirement. Pfarr was

aware that the government was investigating IDTFs for failure to provide appropriate

supervision. (Id. at ¶ 28-29, 41.) In addition, when Pfarr tried to enroll ONI’s Seaford and

Millsboro offices in Medicare, Medicare told him that ONI could not bill for MRI procedures

requiring direct supervision unless it amended its enrollment form to identify the direct

supervising physician. (Pfarr later lied on the form and also provided Medicare a false

supervision “schedule.”) (Gov’t Compl. at ¶¶ 39-40, 49.) Then, after learning that the
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government was investigating MRI providers for non-compliance with the supervision

requirement, Pfarr created sham supervision agreements with physicians. (Id. at ¶¶ 33-34, 44-45,

53-54, 59-60.)

       In short, the facts show that Pfarr (and therefore ONI) was well aware that the

government attached “particular importance” to the supervision requirement and would not pay

if it was not complied with. See Escobar, 136 S. Ct. at 2002-03 (requirement is “material” if the

defendant knows that the government would refuse to pay based on noncompliance). The

materiality element is satisfied.

                 B.    The treble damages and civil penalties sought by the government are
                       capable of ascertainment by the Court.

       The amount of damages in an FCA case is set by statute and is therefore capable of

ascertainment by the Court without the need for an evidentiary hearing. Once the Government

establishes liability, the FCA mandates that the Court award treble damages and not less than

$5,500 in civil penalties for each false claim. 31 U.S.C. § 3729(a)(1).5

       In FCA cases involving Medicare—where the beneficiary is a third-party, not the

government itself—the single damages are the entire amount the government paid for the false

claims. United States v. Rogan, 517 F.3d 449, 453 (7th Cir. 2008) (holding that FCA damages

for Medicare claims were the full amount of the claims); see also United States v. Sci.

Applications Intern. Corp., 626 F.3d 1257, 1280 (D.C. Cir. 2010) (“[W]here the defendant

fraudulently sought payments for participating in programs designed to benefit third-parties

rather than the government itself, the government can easily establish that it received nothing of


5
 Pursuant to the Federal Civil Penalties Inflation Adjustment Act of 1990, as amended by the
Debt Collection Improvement Act of 1996, 28 U.S.C. § 2461 (notes), and 64 Fed. Reg. 47099,
47103 (1999), the FCA civil penalties were adjusted to a range of $5,500 to $11,000 per
violation for violations occurring on or after September 29, 1999.


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value from the defendant and that all payments made are therefore recoverable as damages.”);

United States ex rel. Longhi v. Lithium Power Techs., Inc., 575 F.3d 458, 473 (5th Cir. 2009)

(calculating damages as the amount the government paid to the defendants where “[t]he contracts

entered . . . did not produce a tangible benefit” to the government).

       The single damages in this case are therefore the full value of the payments Medicare

made to ONI for contrast MRI services that were not properly supervised by a physician between

July 1, 2003 (ten years prior to Relator’s June 23, 2013 Complaint against ONI6) and June 30,

2014, which is $1,328,530.46. See Exhibit A at ¶¶ 7-11, Attachment 1. Trebling that figure

yields $3,985,591.38. (Id.) The Court is also statutorily required to award a minimum of $5,500

per false claim in civil penalties. ONI submitted a total of 2,225 claims for contrast MRI

services that were not properly supervised during the relevant time period, which yields a total of

$12,237,500 in civil penalties. (Id.) The total recovery against ONI is $3,985,591.38 +

$12,237,500 = $16,223,091.38. (Id.)

       Defendant Pfarr is jointly and severally liable with ONI under the FCA. See Mortgages,

Inc. v. U.S. District Court, 934 F.2d 209, 212 (9th Cir.1991); United States v. Cooperative Grain

& Supply Co., 476 F.2d 47, 64 (8th Cir.1973) (individual and corporation jointly and severally

liable under FCA for the total treble damages and civil penalties); United States v. Kates, 419 F.

Supp. 846, 854–55 (E.D. Pa. 1976). Pfarr was not added as a defendant until the government

filed its Complaint in September 2017 but he signed tolling agreements that excluded the time




6
  There is a ten-year limitations period for FCA actions in which the government intervenes
when the government did not know about the allegations more than three years prior to the
Relator’s Complaint. 31 U.S.C. § 3731(b)(2); United States ex rel. Sansbury v. LB & B Assocs.,
Inc., 58 F. Supp. 3d 37, 47-52 (D.D.C. 2014); Exhibit A at ¶ 2. Moreover, the Government’s
Complaint in Intervention relates back to the date of the Relator’s Complaint because they arise
out of the same conduct. 31 U.S.C. § 3731(c); Sansbury, 58 F. Supp. 3d at 47-52. (D.I. 1, 29.)
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after September 23, 2016 from the limitations period. See Exhibits B, C, D. Accordingly, giving

Pfarr the benefit of the minimum six-year limitations period, 31 U.S.C. § 3731(b)(1), the single

damages against Pfarr are the total of the unsupervised contrast MRI payments between October

1, 2010 (six years prior when Pfarr was named as a defendant on September 23, 2016) and June

30, 2014. That total is $426,815.71, which is trebled to $1,280,447.13. See Exhibit A at ¶ 12,

Attachment 2. ONI submitted a total of 881 claims for improperly supervised services during

that period, yielding $4,845,500 in statutorily-required civil penalties. (Id.) Thus, Pfarr is jointly

and severally liable for a minimum of $6,125,947.13. (Id.)

               C.      The government and Relator agree that Relator should receive an 18-
                       percent share under the FCA’s qui tam provisions.

       Pursuant to the FCA’s qui tam provisions, a relator is entitled to a share of the recovery if

the government intervenes. 31 U.S.C. § 3730. Specifically, Section 3730(d)(1) provides:

               If the Government proceeds with an action brought by a person
               under subsection (b), such person shall, subject to the second
               sentence of this paragraph, receive at least 15 percent but not more
               than 25 percent of the proceeds of the action or settlement of the
               claim, depending upon the extent to which the person substantially
               contributed to the prosecution of the action.

31 U.S.C. § 3730(d)(1). Here, the Government and Relator agree that Relator should receive an

18-percent share of any recovery collected from ONI and Pfarr.

       V.      CONCLUSION

       For the foregoing reasons, the United States and Relator respectfully request that the

Court enter default judgment on Count One of the Government’s Complaint against ONI for

$16,223,091.38, with Pfarr jointly and severally liable for $6,125,947.13. A proposed order is

attached.




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                                   Respectfully submitted,

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DATED: January 12, 2018




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                                CERTIFICATE OF SERVICE

       I, Kimberly Rechner, an employee in the Office of the United States Attorney for the

District of Delaware, hereby attest under penalty of perjury that on January 12, 2018, a true copy

of BRIEF OF UNITED STATES IN SUPPORT OF UNITED STATES’ AND RELATOR’S

JOINT MOTION FOR DEFAULT JUDGMENT AND TO SET RELATOR’S SHARE was

electronically filed and was also mailed to the following:



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                                                     /s/ Kimberly Rechner
                                                     Kimberly Rechner




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